     19-12520-mew           Doc 5     Filed 08/06/19     Entered 08/06/19 16:16:12          Deficiency Notice
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                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF NEW YORK
                                             One Bowling Green
                                          New York, NY 10004−1408


IN RE: Jorge Marcia                                         CASE NO.: 19−12520−mew

Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 7
xxx−xx−2551

                                               DEFICIENCY NOTICE

PLEASE TAKE NOTICE that, pursuant to the automatic dismissal provisions set forth in 11 U.S.C. § 521(i),
if: (1) you are an individual debtor or joint debtors, (2) you filed a voluntary case under chapter 7 or 13,
(3) you fail to cure those deficiencies identified by an asterisk [*] below, and (4) the Court does not grant an
extension of time or order otherwise, your case may be dismissed without further notice on or after the
forty−sixth (46th) day following the commencement of the case.

PLEASE TAKE FURTHER NOTICE that nothing herein modifies the deadline by which any document must
be filed under the applicable provisions of the Bankruptcy Code or Federal Rules of Bankruptcy Procedure, or
implies that the information contained in any filed document is adequate or sufficient. Additionally, the failure
to file any required document by such deadline may be cause for the dismissal or conversion of your case prior
to the forty−sixth (46th) day following the commencement of the case.

The current deficiencies in your case are listed below. If an asterisk [*] appears before a document listed below, the
document is a section 521(a)(1) requirement that, if not filed, would subject your case to the automatic dismissal
provisions (referred to in the first paragraph above).

Statement of Your Current Monthly Income (Official          Schedule H: Your Codebtors (Official Form 106H) due
Form 122A−1) due 08/16/2019                                 08/16/2019
Declaration About an Individual Debtor's Schedules          * Schedule I: Your Income (Official Form 106I)1 due
(Official Form 106Dec) due 08/16/2019                       08/16/2019
* Schedule A/B: Property (Official Form 106A/B) due         * Schedule J: Your Expenses (Official Form 106J)1 due
08/16/2019                                                  08/16/2019
Schedule C: The Property You Claim as Exempt (Official      Statement of Intention due 08/16/2019
Form 106C) due 08/16/2019                                   * Statement of Financial Affairs due 08/16/2019
* Schedule D: Creditors Who Hold Claims Secured By          Summary of Assets and Liabilities due 08/16/2019
Property (Official Form 106D) due 08/16/2019
* Schedule E/F: Creditors Who Have Unsecured Claims
(Official Form 106E/F) due 08/16/2019
Schedule G: Executory Contracts and Unexpired Leases
(Official Form 106G) due 08/16/2019


All required documents must be filed timely. The document(s) appearing above must be filed with the Court by the
applicable deadline.
        1   NOTE: A debtor who has not filed Schedules I and/or J has also failed to provide the Court with
            the two statements required by section 521(a)(1)(B)(v) and (vi): "(v) a statement of the amount of
            monthly net income, itemized to show how the amount is calculated; and (vi) a statement
            disclosing any reasonably anticipated increase in income or expenditures over the 12−month period
            following the date of the filing of the petition." The filing of completed Schedules I and J
            satisfies the requirement of providing these two statements to the Court.

NOTE: No later than the time of the meeting of creditors conducted by the trustee pursuant to 11 U.S.C. § 341(a),
you must provide the trustee with copies of all payment advices or other evidence of payment received from any
employer within 60 days prior to the date of filing of the petition. See General Order M−382.


Dated: August 6, 2019                                                   Vito Genna
                                                                        Clerk of Court
